        Case 1:20-cv-05055-JGK-KHP Document 20 Filed 10/20/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
GIANNIS ANTETOKOUNMPO,
                                                                                 10/20/2020

                                                Plaintiff,           ORDER

                             -against-                               20-CV-5055 (JGK) (KHP)

KENNETH SEARCY d/b/a NOMERCY50 d/b/a
MUSICARTHISTORY,

                                                 Defendant.
-----------------------------------------------------------------X
KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

         This case has been referred to me to conduct an inquest on damages. (ECF No. 18.) By

December 4, 2020, Plaintiff is directed to serve and file an inquest memorandum, accompanied

by supporting affidavits and exhibits setting forth proof of damages, including the costs of this

action, Plaintiff’s reasonable attorneys’ fees, and proposed findings of fact and conclusions of

law. All proposed findings of fact must be supported by admissible evidence introduced

through affidavit. All proposed findings of law must be supported by reference to applicable

law. Claims for actual or statutory damages must be specified and supported with admissible

evidence. Claims for attorneys’ fees and costs must be supported by detailed attorney time

records and evidence of costs (such as receipts or evidence of paid invoices) introduced

through an attorney declaration.

         Plaintiff’s Proposed Findings of Fact should specifically tie the proposed damages

figure(s) to the legal claim(s) on which liability has been established; should demonstrate how

plaintiff has arrived at the proposed damages figure(s); and should be supported by one or

more affidavits, which may attach any documentary evidence establishing the proposed
       Case 1:20-cv-05055-JGK-KHP Document 20 Filed 10/20/20 Page 2 of 2




damages. Each Proposed Finding of Fact shall be followed by a citation to the paragraphs of the

affidavit(s) and/or page of documentary evidence that supports each such Proposed Finding.

       By no later than November 3, 2020, Plaintiff shall serve a copy of the Default Judgment

issued by the Hon. John G. Koeltl in this matter, along with a copy of this Order via a method

intended to ensure delivery to Defendant. Plaintiff shall file an affidavit of service of the

Default Judgment and this Order with the Court. Plaintiff shall serve a copy of all papers filed in

connection with the damages inquest (as described in the first two paragraphs of this Order) on

Defendant by December 4, 2020.

       Defendant shall have until January 4, 2021 to object or otherwise respond to Plaintiff’s

application for damages in connection with the default judgment. Defendant must file any

objections or response with the Court and serve the response and/or objections on Plaintiff’s

counsel.

       A telephonic hearing will take place on Wednesday, January 20, 2021 at 10 a.m.

Counsel for the parties shall be prepared to answer questions and provide testimony, as

appropriate, on the damages application. The parties should call in to the Court’s conference

line on the scheduled date and at the scheduled time. Please dial (866) 434-5269; access code

4858267.

       SO ORDERED.

Dated: October 20, 2020
       New York, New York
                                                      ______________________________
                                                      KATHARINE H. PARKER
                                                      United States Magistrate Judge


                                                  2
